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                        IN THE UNITED STATES DISTRICT COURT FOR
                        THE DISTRICT OF THE DISTRICT OF COLUMBIA

____________________________________
                                    )
UNITED STATES,                      )
                                    )
      v.                            )                         Crim. No. 21cr40
                                    )                         Hon. Trevor McFadden
ROBERT MORSS,                       )
      Defendant.                    )
____________________________________)

                                 MOTION TO SUBSTITUTE COUNSEL

        Comes now Defendant Robert Morss, by counsel, and moves this Court to substitute his

appointed counsel, AFPD Kathleen Gaughan and AFPD Elizabeth Toplin, with retained counsel,

John C. Kiyonaga, undersigned.1

                                                              Respectfully Submitted,

                                                              ROBERT MORSS
                                                              By Counsel

                                                              _____/s/____________
                                                              John C. Kiyonaga

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                                                              Alexandria, Virginia 22314
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                                                              Counsel for the Defendant

                                      Certificate of Electronic Service

       I hereby certify that on September 29, 2021, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF System, with consequent service on all parties.
                                                    ____/s/_____________
                                                    John C. Kiyonaga

1
 Undersigned notes that he already represents co-defendant Geoffey Sills. Since Messrs. Sills and Morss do not
know each other and neither is charged with Conspiracy, their representation by the same lawyer appears to create
no conflict of interest. Both have executed a conflict waiver.


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